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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

 

U.S. DISTRICT COURT - N.D. OF LY.

 

 

 

 

 

 

CAYUGA NATION, CLINT HALFTOWN,

TIMOTHY TWOGUNS, GARY WHEELER, JUN 17 2019
DONALD JIMERSON, MICHAEL

BARRINGER, RICHARD LYNCH, B.J. AT OCLOCK

 

RADFORD, AND JOHN DOES 8-20, fohn M. Doturad. Clerk - Utica

 

 

Plaintiffs,

Vv. No. 5:14-cv-1317-DNH-ATB
HOWARD TANNER, VILLAGE

OF UNION SPRINGS CODE ENFORCEMENT
OFFICER, IN HIS OFFICIAL CAPACITY;
BUD SHATTUCK, VILLAGE OF UNION
SPRINGS MAYOR, IN HIS OFFICIAL
CAPACITY; CHAD HAYDEN, VILLAGE OF
UNION SPRINGS ATTORNEY, IN HIS
OFFICIAL CAPACITY; BOARD OF
TRUSTEES OF THE VILLAGE OF UNION
SPRINGS, NEW YORK; AND THE VILLAGE
OF UNION SPRINGS, NEW YORK,

Defendants.

Nm Ne Ne Ne ee ee ee eee ee ee ee ee ee ee ee ee ee ee ee ee”

 

“ORDER GRANTING MOTION TO DISMISS COUNTERCLAIM
Upon reading the Memorandum of Law in Support of Motion to Dismiss
Counterclaim, dated June 11, 2019, the Stipulation dated June [1, 2019, and upon all
pleadings and prior papers by and between the parties in this action, it is hereby:

ORDERED, that the Motion to Dismiss the Counterclaim is granted.

IT IS SO ORDERED.

Dated: ¢ ) une | / , 2019

 
